Case 5:09-cr-50103-TLB        Document 91        Filed 02/28/12    Page 1 of 8 PageID #: 469



                             IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF ARKANSAS
                                     FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                                        PLAINTIFF

                      v.           Criminal Case No. 09-50103

     MANUEL A. GAXIOLA                                                               DEFENDANT


                                              O R D E R

             Now      on    this   28th    day    of   February,      2012,    come     on     for

     consideration the following:

             *        Defendant's Motion Under 28 U.S.C. § 2255 To Vacate, Set

     Aside, Or Correct Sentence By A Person In Federal Custody ("Motion

     to Vacate") (document #79);

             *        the    Magistrate      Judge's       Report     And     Recommendation

     (document #84); and

             *        Defendant-Petitioner's            Written       Objections        To    The

     Magistrate Judge's Report And Recommendation (document #85),

     and the Court, being well and sufficiently advised, finds and

     orders as follows:

             1.       Defendant Manual Gaxiola ("Gaxiola") pled guilty to one

     count       of   aiding       and    abetting     distribution      of    a    controlled

     substance.            He was sentenced to 120 months incarceration, five

     years       supervised release,          a    fine   of      $25,000,    and   a   special

     assessment of $100.

             2.       Gaxiola appealed his sentence, contending that the Court

     erred       by   imposing      a    two-level      leadership      enhancement          under
Case 5:09-cr-50103-TLB    Document 91     Filed 02/28/12      Page 2 of 8 PageID #: 470



     U.S.S.G.     §   3B1.1(c)   (applicable          where    a   defendant     was      an

     organizer, leader, manager, or supervisor in criminal activity)

     and not granting him a "safety valve" reduction.

           The   Eighth    Circuit      Court    of   Appeals      affirmed    Gaxiola's

     sentence, noting that according to uncontroverted information in

     the Presentence Investigation Report ("PSR"), Gaxiola had told an

     undercover officer that he was the boss of a codefendant and

     directed another codefendant to deliver methamphetamine, and that

     supervision of one other participant in criminal activity would

     justify the enhancement.         Because of his leadership role, Gaxiola

     did not qualify for "safety valve" relief.

           3.     In his petition for relief under 28 U.S.C. § 2255,

     Gaxiola contends that the government breached the Plea Agreement

     by advocating for an enhancement under § 3B1.1(c), and that his

     defense attorney provided ineffective assistance of counsel by

     failing to object.

           4.     Gaxiola's § 2255 Petition was referred to United States

     Magistrate       Judge   James       R.     Marschewski        for    Report      And

     Recommendation. Judge Marschewski reported that, under prevailing

     legal precedent, Gaxiola had to show (a) errors by his attorney

     so serious that he was not functioning as the "counsel" guaranteed

     by the Sixth Amendment; (b) a reasonable probability that but for

     those errors, the outcome of his sentencing would have been

     different; and (c) a reasonable probability that but for the


                                               -2-
Case 5:09-cr-50103-TLB   Document 91    Filed 02/28/12   Page 3 of 8 PageID #: 471



     errors he would not have pled guilty, but would have insisted on

     going to trial.

            In addition, Judge Marschewski noted legal precedent to the

     effect that allowing the government to breach a plea agreement, a

     document contractual in nature, would violate due process, and

     that the party asserting such a breach has the burden of proving

     it.

            5.   Judge    Marschewski      then    reviewed      Gaxiola's      Plea

     Agreement, finding it silent on the issue of leadership role

     enhancement.    He reported that a breach could not be found in the

     face of such silence.

            He further reported that Gaxiola did not contend that either

     the government or his defense attorney made any specific promises

     to him, and that the Plea Agreement reflected that any discussions

     of Guideline range during plea negotiations "merely attempt[ed] to

     guess at what appears to be the correct guideline range and do not

     bind the district court."

            6.   Judge Marschewski reviewed the authorities cited by

     Gaxiola, and distinguished them, concluding that any objection

     Gaxiola's attorney had asserted that the government breached the

     Plea   Agreement    would   have   been    meritless,    and   it   cannot be

     ineffective assistance of counsel to fail to raise a meritless

     argument.

            7.   Finally, Judge Marschewki found no basis to conduct an


                                          -3-
Case 5:09-cr-50103-TLB      Document 91        Filed 02/28/12      Page 4 of 8 PageID #: 472



     evidentiary hearing, because on the record before him he found

     that the government did not breach the Plea Agreement.

            Based     on        the     foregoing        findings,      Judge    Marschewski

     recommended that Gaxiola's Petition be dismissed with prejudice.

            8.      Gaxiola objections, while variously phrased, fall into

     two categories.            His primary objection is that Judge Marschewski

     is simply wrong on the law.                   He contends that "the government

     breached       the    plea        agreement    by    advocating      for    a    sentence

     enhancement under USSG § 3B1.1(c) when the agreement is silent on

     that regard.         This action of the government is prohibited."

            He argues that "[t]he essential question is whether the

     government's         conduct       is consistent       with     Gaxiola's       reasonable

     understanding         of    the     agreement,"      and    that   Judge    Marschewski

     misread, or misapplied, U.S. v. Peck, 496 F.3d 885 (8th Cir.

     2007); U.S. v. Cheek, 69 F.3d 231 (8th Cir 1995); and U.S. v.

     Kramer, 12 F.3d 130 (8th Cir. 1993).

            9.      This objection will be overruled. It is answered quite

     simply and directly in Cheek.                 Cheek's plea agreement was silent

     on the issue of leadership role enhancement, did not indicate that

     Cheek would receive any specific sentence, and stated that it was

     the parties' complete agreement. The court found no breach of the

     plea   agreement           when    the   government        requested    a   §    3B1.1(c)

     enhancement at sentencing.

            The same situation obtains here:


                                                   -4-
Case 5:09-cr-50103-TLB    Document 91   Filed 02/28/12    Page 5 of 8 PageID #: 473



           *     Gaxiola's Plea Agreement is silent on the issue of

     leadership role enhancement.

           *     The Plea Agreement does not indicate that Gaxiola would

     receive any specific sentence. To the contrary, ¶10 acknowledges

     that the Court "is not bound by the Guidelines and may sentence

     the defendant to any sentence within the statutory range."

     Paragraph 11 acknowledges that discussions about the possible

     guideline range "merely attempt to guess at what appears to be the

     correct guideline range and do not bind the district court."

     Paragraph 18 contains an agreement that nothing in the Plea

     Agreement    binds    the   district    court   to   "make    any   particular

     application of the Sentencing Guidelines."

           *     The Plea Agreement is the complete agreement of the

     parties.    Paragraph 24 contains an acknowledgment that the Plea

     Agreement contains the "entire agreement" of the parties, and that

     "no oral agreements or promises . . . have been made to induce the

     defendant to change his plea to guilty."

           10.   Gaxiola also relies on U.S. v. Austin, 255 F.3d 593 (8th

     Cir. 2001), specifically footnote 5:

           Although we do not find sufficient evidence to establish
           that the Government violated the plea agreement in this
           case, we note that it is not uncommon for the Government
           to omit controversial provisions from a plea agreement
           knowing that Probation will include that provision in
           the PSR.   As a result, defendants may be subject to
           sentencing enhancements that, if known at the time of
           entering into the plea agreement, would likely have
           affected their decisions to plead guilty. Our decision
           in this case in no way condones such practices. The

                                            -5-
Case 5:09-cr-50103-TLB   Document 91   Filed 02/28/12    Page 6 of 8 PageID #: 474



            Government must act in a forthright and honest manner
            when entering into plea agreements with criminal
            defendants. The ends of justice demand nothing less.

            11.    This Court certainly agrees that justice demands honesty

     on the part of the government in entering into plea agreements,

     but here there is no evidence of dishonesty.              Such evidence was

     not found even in Austin, where the defendant was allowed to

     withdraw from his first plea agreement because he objected to its

     inclusion of a § 3B1.1(c) enhancement.             A second plea agreement

     was negotiated which did not mention the enhancement, yet the

     government supported the enhancement at sentencing.                 The court

     there held that in the absence of "concrete evidence that the

     Government agreed not to pursue or support a § 3B1.1 enhancement,

     the Government will not be deemed to have breached the plea

     agreement by supporting such an enhancement."              Id., 255 F.3d at

     593.

            12.    Gaxiola's other objections go to Judge Marschewski's

     statement that Gaxiola did not contend that either the government

     or his defense attorney made any specific promises to him.

     Gaxiola contends, to the contrary, that his attorney promised him

     that his sentence would be "six or seven years" (or, elsewhere, "a

     maximum 87 months"), and that he qualified for "safety valve"

     relief.      He contends that the government promised him he would be

     sentenced "within the applicable guideline range as per the plea

     agreement which does not consider role enhancement."


                                         -6-
Case 5:09-cr-50103-TLB   Document 91     Filed 02/28/12    Page 7 of 8 PageID #: 475



           13.    This objection       will    be   overruled,    because specific

     language in the Plea Agreement, cited in ¶9, supra, negates it.

     Considering that the Plea Agreement states in three separate

     places that it is not setting out a specific or binding sentence,

     it could hardly have been clearer that there were no guarantees

     about the sentence Gaxiola would receive.

           Moreover, ¶24 states that "this plea agreement constitutes

     the entire agreement of the parties.             Further, all parties agree

     that there are no oral agreements or promises which have been made

     to induce the defendant to change his plea to guilty."                       Such

     language is evidence that the parties intended to integrate their

     entire agreement into the Plea Agreement, and Gaxiola should not

     now be heard to say this was not the case.

           14.    Having overruled Gaxiola's objections, the Court agrees

     with Judge Marschewski that any objection Gaxiola's attorney might

     have asserted to the effect that the government breached the Plea

     Agreement would have been meritless, and the failure to object

     will not support an ineffective assistance of counsel claim.

     Phrased another way, there is no reasonable probability that, but

     for the failure to make this objection, the outcome of Gaxiola's

     sentencing    would   have   been        different.   Gaxiola's     ineffective

     assistance of counsel claim is, therefore, without merit, and will

     be dismissed with prejudice.

           IT IS THEREFORE ORDERED that Defendant-Petitioner's Written


                                              -7-
Case 5:09-cr-50103-TLB   Document 91   Filed 02/28/12   Page 8 of 8 PageID #: 476



     Objections To The Magistrate Judge's Report And Recommendation

     (document #85) are overruled.

           IT IS FURTHER ORDERED that the Magistrate Judge's Report And

     Recommendation (document #84) is adopted in toto.

           IT IS FURTHER ORDERED that defendant's Motion Under 28 U.S.C.

     § 2255 To Vacate, Set Aside, Or Correct Sentence By A Person In

     Federal Custody ("Motion to Vacate") (document #79) is dismissed

     with prejudice.

           IT IS SO ORDERED.

                                              /s/ Jimm Larry Hendren
                                            JIMM LARRY HENDREN
                                            UNITED STATES DISTRICT JUDGE




                                         -8-
